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10
     DISCORD INC.
11
12                                UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14
15    ZHEA ZHEA ZARECOR AS PERSONAL                Case No. 3:23-cv-05385-AGT
      REPRESENTATIVE OF ZHEA ZARECOR
16    SALAZAR, individually and on behalf of all   STIPULATION TO EXTEND TIME TO
      others similarly situated,                   RESPOND TO COMPLAINT (L.R. 6-1)
17
                            Plaintiff,             Complaint Filed: October 20, 2023
18                                                 Complaint Served: November 29, 2023
19    v.                                           Current Response Date: December 20, 2023
                                                   New Response Date: January 19, 2024
20    DISCORD INC.,
21
                            Defendant.
                                                   CLASS ACTION
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                         STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1          Plaintiff Zhea Zhea Zarecor as Personal Representative of Zhea Zarecor Salazar (“Plaintiff

 2   Zarecor”) and Defendant Discord Inc. (“Discord”), pursuant to Local Rule 6-1, hereby stipulate to the

 3   following extension of time for Discord to respond to the Complaint:

 4          WHEREAS, on October 20, 2023, Plaintiff Zarecor filed her Complaint alleging, on behalf of

 5   herself as personal representative of Zhea Zarecor Salazar and a proposed nationwide class, violations

 6   of California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200, et seq.), violations of

 7   California’s Consumer Legal Remedies Act (“CLRA”) (Cal. Civ. Code § 1750, et seq.), violations of

 8   California Business and Professional Code §§ 17500, et seq., violations of Texas’ Deceptive Trade

 9   Practices-Consumer Protection Act (“DTPA”), and unjust enrichment by Discord;

10          WHEREAS, on November 29, 2023, Plaintiff Zarecor served her Complaint on Discord;

11          WHEREAS, pursuant to Rule 12(a)(1) of the Federal Rules of Civil Procedure, Discord’s

12   response to the Complaint is due on December 20, 2023;

13          WHEREAS, Discord conferred with Plaintiff’s counsel and requested that Plaintiff agree to

14   extend the time for Discord to respond to the Complaint to January 19, 2024 (a 30-day extension);

15          WHEREAS, Plaintiff has agreed to Discord’s request to extend the time for Discord to

16   respond to the Complaint to January 19, 2024;

17          WHEREAS, the requested extension will not affect any dates set by the court; and

18          WHEREAS, this is the first request by the parties for an extension of time for Discord to

19   respond to the Complaint.

20          IT IS HEREBY STIPULATED by and between the parties that Discord’s date to respond to

21   the Complaint, by answer, motion, or otherwise, is extended to and including January 19, 2024.

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                         STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1
 2   Dated: December 19, 2023                      KALIELGOLD PLLC

 3
                                                   By:/s/ Sophia G. Gold
 4                                                 JEFFREY D. KALIEL
 5                                                 SOPHIA G. GOLD
                                                   SCOTT EDELSBERG
 6
                                                   Attorneys for Plaintiff
 7
 8
     Dated: December 19, 2023                      KING & SPALDING LLP
 9
10                                                 By: /s/ Quyen L. Ta
                                                   Quyen L. Ta
11                                                 Alvin Lee
12
                                                   Attorneys for Defendant
13                                                 DISCORD INC.

14
15                                         L.R. 5-1 ATTESTATION
16          I, Quyen L. Ta, attest that all signatories listed herein, and on whose behalf this filing is
17   submitted, concur in this filing’s content and have authorized this filing.
18
                                                   By:     /s/Quyen L. Ta
19                                                         Quyen L. Ta

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                          STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
